   Case 2:16-cv-00798-MHT-CSC Document 128 Filed 05/10/19 Page 1 of 3



  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

    MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


DEMONTRAY HUNTER, et al.,          )
                                   )
     Plaintiffs,                   )
                                   )        CIVIL ACTION NO.
     v.                            )          2:16cv798-MHT
                                   )
LYNN T. BESHEAR, in her            )
official capacity as the           )
Commissioner of the                )
Alabama Department of              )
Mental Health,                     )
                                   )
     Defendant.                    )

 ORDER EXTENDING DEADLINES IN JOINT REMEDIAL PLAN FOR
           NONCOMPLIANCE WITH CONSENT DECREE

    It is ORDERED that:

    (1) The joint motion to extend deadlines (doc. no.

126) is granted.

    (2)   The     order   on    the    joint    remedial     plan       for

noncompliance with consent decree               (doc. no. 125) is

amended    only     to    the     extent       that    schedule         for

preparation and implementation of the remedial plan in

section I is reset as follows:
   Case 2:16-cv-00798-MHT-CSC Document 128 Filed 05/10/19 Page 2 of 3




 Deadline                              Activity

June 15,       ADMH    engages    compliance   consultant
2019           selected     after    consultation    with
               plaintiffs

July 17,       Compliance consultant submits report to
2019           defendant      outlining     barriers  to
               compliance with the consent decree’s
               timelines for service provision, which is
               shared    with    plaintiffs   within one
               business day
August 1,      Compliance    consultant    submits    to
2019           defendant a remedial plan to address
               compliance     barriers    outlined    in
               consultant’s initial report, which is
               shared with plaintiffs on the same day
August 3,      Parties meet and confer regarding                   the
2019           consultant’s remedial plan
August 24,     ADMH provides plaintiffs with                  amended
2019           remedial plan, if necessary
September      Amendments to remedial plan, if any, are
1, 2019        complete, and ADMH implementation of
               remedial plan begins
September      ADMH provides plaintiffs final version of
2, 2019        remedial plan
October 1,     Implementation  of   remedial  plan   is
2019           complete, and the plan is filed with the
               court
October 16,    ADMH provides plaintiffs with a written
2019           status report on compliance following
               implementation of remedial plan




                                   2
   Case 2:16-cv-00798-MHT-CSC Document 128 Filed 05/10/19 Page 3 of 3



November 1,    Parties meet and confer regarding status
2019           of compliance, if necessary
November       Parties   file   joint  status                  report
15, 2019       regarding compliance with the                  consent
               decree



    DONE, this the 10th day of May, 2019.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE




                                   3
